                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: Michael G. Dombrowski,                )              Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                      )
                                             )
               Debtor.                       )              CHAPTER 11

                            JOINT MOTION FOR APPROVAL OF
                             COMPROMISE AND SETTLEMENT

       COME NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
and Bank of America (“Creditor”), and respectfully represent that they have reached an
agreement to settle and compromise the claims and disputes involved in the Debtor’s Chapter 11
case. As grounds for this motion, the parties state the following:

                                         I. Background

       1.    On May 11, 2016 (the "Commencement Date"), the Debtor commenced with this
Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
Code").

       2.     The Debtor continues to be authorized to operate the business as Debtor-in-
Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

      3.     The Debtor is an active real estate investor with numerous real properties in
Alabama and several other states. In addition to his own properties, the Debtor is a member or
member/owner of several limited liability companies that own real properties.

        4.    Prepetition, the Debtor contracted with Creditor, or its predecessor in interest, for
the loan of money to acquire real property (the “loan”).

        5.     Pursuant to its filed proof of claim in this matter, the Creditor asserted that the
loan’s remaining balance and collateral is as follows:

               Claim 17-1             Loan balance of $247,146.64 as September 07, 2016
                                      Secured by mortgage on 3565 W. Hemlock St., Oxnard,
                                      CA 93035
(the “Proof of Claim”).

       6.      Following the commencement date, a dispute arose between the Debtor and the
Creditor regarding the Debtor’s treatment of the Creditor’s claim under the terms of his Plan for
Reorganization (the “dispute”).




Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-9
                          554 Filed
                                Filed08/22/17
                                      08/30/17 Entered
                                                  Entered08/22/17
                                                          08/30/1708:35:25
                                                                   10:42:36 Desc
                                                                             Desc
                        MainExhibit
                             Document
                                    I PagePage
                                            1 of 41 of 4
        7.      To resolve the dispute and all other ancillary or collateral matters between these
parties, the Debtor and the Creditor propose this compromise and settlement to the Court. The
parties aver that this proposed resolution is in the best interest of each party and the bankruptcy
estate as a whole.

                                  II. Jurisdiction and Notice

       8.    The parties bring this Motion for approval of compromise and settlement (this
“Motion”) pursuant to § 105 of the Bankruptcy Code and Rules 2002 and 9019 of the Federal
Rules of Bankruptcy Procedure (“Bankruptcy Rules”). This Motion is a contested matter under
Bankruptcy Rule 9014.

        9.      The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
Court is being asked to enter a final order on any non-core matter, the parties expressly consent
to the entry of a final order.

      10.     Pursuant to Bankruptcy Rule 2002, the parties propose to serve a copy of this
Motion upon the Bankruptcy Administrator, all creditors, and all parties requesting notice.

        11.      Pursuant to Bankruptcy Rule 2002, the parties propose that the Bankruptcy Court
provide no less than 20 days’ notice by mail to all creditors of the time within which objections
to the relief requested in this Motion must be filed and of the hearing on any such objections.

                       III. Agreement for Compromise and Settlement

       12.     The agreement by and between the Debtor and the Creditor to resolve all issues
involved in the Chapter 11 case is as follows:

       A.      The Creditor's Loan Documents will be modified as follows:

               Claim 17-1             Note will be reamorized upon confirmation of the Debtor’s
                                      Plan on a 37-year payment schedule at a fixed interest rate
                                      set 15 days after the confirmation of the Debtor’s Plan at
                                      the Fannie Mae Standard Modification Interest Rate, as
                                      published       on       the      following       website:
                                      https://www.fanniemae.com/content/guide_exhibit/fannie-
                                      mae-standard-modification-interest-rate.pdf.

       B.      Debtor will incorporate the terms of this agreement into his Plan of
Reorganization, and the Creditor will support this treatment of its claim in the Debtor’s Plan and
not vote against and withdraw its pending objection to said Plan.

        C.     If the Creditor concludes that the Debtor is in default under his plan, or
concerning the payments to the Creditor, the Creditor will send notice of such default to Debtor
at his last known residence and a copy to his bankruptcy counsel of record. Thereafter, the



                                                                                                 2
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-9
                          554 Filed
                                Filed08/22/17
                                      08/30/17 Entered
                                                  Entered08/22/17
                                                          08/30/1708:35:25
                                                                   10:42:36 Desc
                                                                             Desc
                        MainExhibit
                             Document
                                    I PagePage
                                            2 of 42 of 4
Debtor will have twenty-one (21) calendar days to cure the default from the date the notice is
sent.

                  IV. Business Justification for Compromise and Settlement

        13.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
and settlements. The approval or rejection of a compromise is left to the sound discretion of the
bankruptcy court, and is to be determined by the particular circumstances of each proposed
compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
invoked as a guide to judicial action, it means a decision giving due regard to what is right and
equitable under the particular circumstances of the case and applicable law. Langes v. Green,
282 U.S. 531, 541 (1931).

        14.    The courts have supplied the following criteria when determining the
acceptability of a proposed compromise:

               (i)     The probability of success in the litigation;
               (ii)    The complexity of the litigation involved; and
               (iii)   The expense, inconvenience, and delay necessarily attending the litigation
                       (including the possibility that denial of the settlement will cause the
                       depletion of assets).

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
required to decide whether the settlement falls below the lowest point in a range of
reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
Cir. 1983), cert denied 464 U.S. 822 (1984)).

        15.    Although the parties each believe strongly in their respective claims and defenses,
each also recognizes the risks inherent in any litigation.

        16.     A settlement of the parties’ disputes in accordance with this Motion will result in
the resolution of these claims and minimize the Estate’s administrative costs.

       17.    The proposed compromise and settlement is consistent with the intent and the
requirements of the Bankruptcy Code.

       18.    This settlement and compromise is proposed in good faith and is the product of
arms-length negotiations that have occurred between the parties over an extended period of time.




                                                                                                 3
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-9
                          554 Filed
                                Filed08/22/17
                                      08/30/17 Entered
                                                  Entered08/22/17
                                                          08/30/1708:35:25
                                                                   10:42:36 Desc
                                                                             Desc
                        MainExhibit
                             Document
                                    I PagePage
                                            3 of 43 of 4
                                          V. Conclusion

         WHEREFORE, PREMISES CONSIDERED, the parties request that the Bankruptcy
Court:

        A.     Enter a final order approving this compromise and settlement; authorizing the
parties to execute and deliver any and all other documents which may be necessary or
appropriate to effectuate the compromise and settlement described herein; and

       B.     Granting such further and different relief as the Bankruptcy Court may deem just
and appropriate.

         Respectfully submitted this the 22nd day of August, 2017.

/s/ Jeanna D. Chappell                             /s/ Tazewell T. Shepard IV
Jeanna D. Chappell                                 Tazewell T. Shepard III
Attorney for Bank of America                       Tazewell T. Shepard IV
                                                   Attorneys for Debtor-in-possession

PIERCE LEDYARD PC                                  SPARKMAN, SHEPARD & MORRIS, P.C.
3801 Airport Blvd.                                 P.O. Box 19045
Mobile, AL 36608                                   Huntsville, AL 35804
Tel: (251) 338-1300                                Tel: (256) 512-9924
Fax: (251) 338-1305                                Fax: (256) 512-9837


                                 CERTIFICATE OF SERVICE

       This is to certify that I have this the 22nd day of August, 2017 served the foregoing
motion on all parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the
Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the
Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
pre-paid.


                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard IV




                                                                                               4
Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-9
                          554 Filed
                                Filed08/22/17
                                      08/30/17 Entered
                                                 Entered08/22/17
                                                         08/30/1708:35:25
                                                                  10:42:36 Desc
                                                                            Desc
                        MainExhibit
                             Document
                                    I PagePage
                                            4 of 4 of 4
